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                     Exhibit 1
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From:               Walter Loughlin
To:                 Fenton, Christopher (CRM)
Cc:                 Herzog, Ronald S. (Ron); Weitz, Justin; Foster, Jacob (CRM); JL Handzlik
Subject:            Re: Keith Berman
Date:               Thursday, December 17, 2020 3:03:50 PM


Christopher: Thank you for your expression of working with us and Mr. Berman to secure his
release today. Subject to being able to confer with our client, we are not opposed in principle
to electronic monitoring or a secured bond —though we continue to believe that electronic
monitoring, plus an unsecured bond, would be sufficient security that Mr. Berman would
appear as required. The special conditions are acceptable. Pat


       On Dec 17, 2020, at 2:48 PM, Fenton, Christopher (CRM)
       <Christopher.Fenton@usdoj.gov> wrote:

       Pat –

       Thank you for your email. In the government’s view, Mr. Berman has a significant
       incentive to flee – he is 67 years old and, if convicted, is facing a substantial sentence.
       There are also serious questions about whether he will comply with the conditions of
       release – he has demonstrated a disdain for the federal government, and repeatedly
       lied to both the FBI and the SEC, including to conceal a fake identity that he used in
       furtherance of the alleged fraud. We are, however, willing to make a good faith effort
       to work with you to arrive at an agreed on bond package before Mr. Berman’s initial
       appearance.

       Please advise as to whether you are opposed to electronic monitoring? If not, that will
       help to manage the risk of flight. Moreover, agreeing to electronic monitoring also
       provides some flexibility to allow Mr. Berman to agree today to a secured bond
       package and leave the courthouse with a week or so to make the necessary
       arrangements.

       With respect to the special conditions, please confirm that the following two conditions
       are agreeable:

             (i)      The defendant is prohibited from directly and indirectly communicating
                     with Decision Diagnostics Corp.’s investors on an individualized basis. If the
                     defendant is contacted by someone who seeks to have prohibited
                     communication with him, he is to refer any such person to counsel.

             (ii)    The defendant is prohibited from using a fake identity or alias to influence
                     matters related to Decision Diagnostics.



       From: Walter Loughlin <walter.loughlin@gmail.com>
       Sent: Thursday, December 17, 2020 2:23 PM
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To: Fenton, Christopher (CRM) <Christopher.Fenton@CRM.USDOJ.GOV>
Cc: Herzog, Ronald S. (Ron) <rherzog@goldbergsegalla.com>; Weitz, Justin
<Justin.Weitz@CRM.USDOJ.GOV>; Foster, Jacob (CRM)
<Jacob.Foster@CRM.USDOJ.GOV>; JL Handzlik <jhandzlik@handzliklaw.com>
Subject: Re: Keith Berman

Christopher: The items you list below fairly represent what you have described as the
Government’s position on bail. Here are a couple of points for your consideration.

1. Obviously, since you chose to arrest our client with no notice to us, we have not
been able to confer with him about his ability to post a bond secured by $100,000. We
still believe an unsecured personal recognizance bond is most appropriate for a 67-year
old person with an unblemished prior history who is charged with non-violent white-
collar offenses. Even if it turns out that Mr. Berman has real or personal proper to
secure a bond, he may need to be released temporarily on an unsecured bond in order
to take the necessary steps to replace that, if necessary, with a secured bond.

2. Electronic monitoring seems an unnecessary layer of security—especially if the
Government insists on a secured bond.

3. With respect to (i) below, you agreed that this limitation applied to individual
communication by Mr. Berman but did not preclude more general communication
related to the conduct of the business. With respect to more individualized
communication, it was agreed that we would instruct Mr. Berman that he was not to
initiate any prohibited communication and, if he is contacted by someone who seeks to
have prohibited communication with him, he is to refer any such person to counsel.

Finally, I have copied on this email Jan Handzlik, a Los Angeles-based lawyer who will
assist us.

Best, Pat
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    In addition to the standard conditions, we would request the following
    two special conditions:

       (i)        The defendant is prohibited from directly and indirectly
                 communicating with Decision Diagnostics Corp.’s investors on
                 an individualized basis.

       (ii)       The defendant is prohibited from using a fake identity or alias
                 to influence matters related to Decision Diagnostics.

    Please let us know your position with respect to these proposed
    conditions.

    FYI, I’m copying Justin Weitz and Jacob Foster, who are co-counsel on the
    case.

    Thank you.


    Christopher Fenton
    Trial Attorney
    U.S. Department of Justice
    Criminal Division, Fraud Section
    1400 New York Avenue, NW
    Bond Building
    Washington, DC 20530
    202.320.0539
    christopher.fenton@usdoj.gov

    From: Walter Loughlin <walter.loughlin@gmail.com>
    Sent: Thursday, December 17, 2020 11:45 AM
    To: Fenton, Christopher (CRM) <Christopher.Fenton@CRM.USDOJ.GOV>
    Cc: Herzog, Ronald S. (Ron) <rherzog@goldbergsegalla.com>
    Subject: Re: Keith Berman

    Christopher-Are you available to speak to me and Ron?

    On Thu, Dec 17, 2020 at 11:31 AM Fenton, Christopher (CRM)
    <Christopher.Fenton@usdoj.gov> wrote:
      Ron and Pat –

      Here’s the file-stamped copy of the Indictment.




      Christopher Fenton
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     Trial Attorney
     U.S. Department of Justice
     Criminal Division, Fraud Section
     1400 New York Avenue, NW
     Bond Building
     Washington, DC 20530
     202.320.0539
     christopher.fenton@usdoj.gov

     From: Walter Loughlin <walter.loughlin@gmail.com>
     Sent: Thursday, December 17, 2020 11:14 AM
     To: Fenton, Christopher (CRM)
     <Christopher.Fenton@CRM.USDOJ.GOV>
     Cc: Herzog, Ronald S. (Ron) <rherzog@goldbergsegalla.com> Subject:
     Re: Keith Berman

     Christopher: Please send us any copy of the Indictment you have now
     rather than waiting for a stamped copy. Thank you. Pat

     On Thu, Dec 17, 2020 at 10:56 AM Fenton, Christopher (CRM)
     <Christopher.Fenton@usdoj.gov> wrote:
       Ron and Pat –

       Mr. Berman was arrested this morning in Los Angeles. The charges
       are securities fraud and making a false statement. We do not yet
       have a file-stamped copy of the indictment. We will send one along
       as soon as we receive it. Mr. Berman’s initial appearance will be
       today at 2pm Pacific in CDCA.

       You can reach me at 202.320.0539 when you’re free to talk.

       Christopher Fenton
       Trial Attorney
       U.S. Department of Justice
       Criminal Division, Fraud Section
       1400 New York Avenue, NW
       Bond Building
       Washington, DC 20530
       202.320.0539
       christopher.fenton@usdoj.gov
